     Case: 1:20-cv-07115 Document #: 6 Filed: 12/11/20 Page 1 of 1 PageID #:38

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Edelson PC
                                Plaintiff,
v.                                                   Case No.: 1:20−cv−07115
                                                     Honorable Matthew F. Kennelly
Thomas Girardi, et al.
                                Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, December 11, 2020:


        MINUTE entry before the Honorable Matthew F. Kennelly: Plaintiff wishes to
dismiss its with prejudice its claims against one but not all of the defendants in this case. It
proposes to sever the claims against that defendant−−in other words, make those claims
into a separate case−−and then dismiss it. The Court questions the appropriateness of a
severance under the applicable rules and wonders why plaintiff wishes to proceed in what
seems to be the hard way rather than the much easier and common mechanism−−a
stipulation between plaintiff and the particular defendant for dismissal of the claims
against that defendant, something that is done basically every day of the week in this
courthouse and elsewhere. The Seventh Circuit case cited by plaintiff concerns only
voluntary dismissal by the plaintiff alone and has no bearing on stipulated dismissals of
particular claims or defendants. Plaintiff is directed to file a revised motion or a
supplement explaining why the Court's suggested mechanism cannot be used. (mk)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
